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                    1   GABRIEL M. RAMSEY (SBN 209218)
                          gramsey@crowell.com
                    2   JOACHIM B. STEINBERG (SBN 298066)
                          jsteinberg@crowell.com
                    3   CROWELL & MORING LLP
                        3 Embarcadero Center, 26th Floor
                    4   San Francisco, CA 94111
                        Telephone: 415.986.2800
                    5   Facsimile: 415.986.2827

                    6   Attorneys for Defendant
                        ERIC BRAVICK
                    7

                    8

                    9                                   UNITED STATES DISTRICT COURT

                   10                              NORTHERN DISTRICT OF CALIFORNIA

                   11

                   12   DFINITY USA RESEARCH, LLC, a limited                 Case No. 5:22-cv-03732-NC
                        liability company,
                   13                                                        DECLARATION OF JOACHIM B.
                                           Plaintiff,                        STEINBERG IN SUPPORT OF
                   14                                                        DEFENDANT’S RESPONSE TO
                               v.                                            ORDER TO SHOW CAUSE
                   15
                        ERIC BRAVICK, an individual and DOES 1               Complaint filed: May 11, 2022
                   16   through 100, inclusive,
                   17                      Defendant.
                   18

                   19          I, Joachim B. Steinberg hereby declare and state as follows:

                   20          1.      I am a counsel with the law firm of Crowell & Moring LLP, counsel for Eric

                   21   Bravick (“Defendant” or “Bravick”). I am admitted to the bars of California and New York. I am

                   22   over eighteen years old. I make this declaration, except where noted, of my own personal

                   23   knowledge, and, if called upon to do so, could and would testify competently to the facts that it

                   24   contains.

                   25          2.      This Declaration is submitted in support of the response of Eric Bravick

                   26   (“Defendant” or “Bravick”) to the Court’s Order to Show Cause, filed June 28, 2022.

                   27          3.      Plaintiff’s counsel Christina Wong represented to Mr. Bravick’s counsel via email

                   28   on July 6, 2022 that no member of the Dfinity USA Research, LLC is a resident of Michigan.
  CROWELL
& MORING LLP                                                                            DECLARATION OF JOACHIM B. STEINBERG;
ATTORNEYS AT LAW                                                                                      CASE NO. 5:22-CV-03732-NC
                         Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 2 of 49



                    1   Attached to this declaration as Exhibit A is a true and correct copy of that email.

                    2          4.      Attached to this declaration as Exhibit B is a true and correct copy of Dfinity USA

                    3   Research LLC’s 2018 California Statement of Information.

                    4          5.      Attached to this declaration as Exhibit C is a true and correct copy of Dfinity USA

                    5   Research LLC’s 2019 California Statement of Information.

                    6          6.      Artia Moghbel’s LinkedIn profile shows him to be a citizen of Texas. A true and

                    7   correct copy of his LinkedIn profile captured on July 1, 2022 is attached as Exhibit D.

                    8          7.      A report obtained from D&B Credit on DFINITY shows seven individuals with a

                    9   status of “MNG MBR,” which upon information and belief indicates a status as

                   10   “Manager/Member” for the LLC. A true and correct copy of this report is attached to this

                   11   Declaration as Exhibit E.

                   12          8.      The report lists the following seven individuals as Manager/Members: Dominic

                   13   Williams, Gian Bochsler, Jan Camenisch, Josh Drake, Lomesh Dutta, Michael Lee, and Paul

                   14   Meeusen.

                   15          9.      Attached to this declaration as Exhibit F is a true and correct copy of the LinkedIn

                   16   profile of Dominic Williams, captured on June 29, 2022. This profile lists the residence of

                   17   Dominic Williams as Zurich, Switzerland.

                   18          10.     Attached to this declaration as Exhibit G is a true and correct copy of the LinkedIn

                   19   profile of Gian Bochsler, captured on June 29, 2022. This profile lists the residence of Gian

                   20   Boschsler as Zug, Switzerland.

                   21          11.     Attached to this declaration as Exhibit H is a true and correct copy of the LinkedIn

                   22   profile of Jan Camenisch, captured on June 29, 2022. This profile lists the residence of Jan

                   23   Camenisch as Zurich, Switxerland.

                   24          12.     Attached to this declaration as Exhibit I is a true and correct copy of the LinkedIn

                   25   profile of Josh Drake, under the name “Josh D.”, captured on June 29, 2022. This profile lists the

                   26   residence of Josh Drake as San Francisco, California.

                   27          13.     Attached to this declaration as Exhibit J is a true and correct copy of the LinkedIn

                   28   profile of Lomesh Dutta, captured on June 29, 2022. This profile lists the residence of Lomesh
  CROWELL
                                                                                        DECLARATION OF JOACHIM B. STEINBERG;
& MORING LLP                                                              2
ATTORNEYS AT LAW                                                                                      CASE NO. 5:22-CV-03732-NC
                         Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 3 of 49



                    1   Dutta as San Francisco, California.

                    2          14.     Attached to this declaration as Exhibit K is a true and correct copy of the LinkedIn

                    3   profile of Michael Lee, captured on June 29, 2022. This profile lists the residence of Michael Lee

                    4   as San Francisco, California.

                    5          15.     Attached to this declaration as Exhibit L is a true and correct copy of the LinkedIn

                    6   profile of Paul Meeusen captured on June 29, 2022. This profile lists the residence of Paul

                    7   Meeusen as Horgen, Switzerland.

                    8          I declare under penalty of perjury under the laws of the state of California and the United

                    9   States of America that the foregoing is true and correct.

                   10          Executed on July 8, 2022 at San Francisco, California.

                   11

                   12

                   13                                                 Joachim B. Steinberg
                   14

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  CROWELL
                                                                                        DECLARATION OF JOACHIM B. STEINBERG;
& MORING LLP                                                             3
ATTORNEYS AT LAW                                                                                      CASE NO. 5:22-CV-03732-NC
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  EXHIBIT A
                   Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 5 of 49


Aguirre-Dominguez, Diane

From:                   Wong, Christina <Christina.Wong@bakermckenzie.com>
Sent:                   Wednesday, July 6, 2022 3:06 PM
To:                     Steinberg, Joachim
Cc:                     Newman, Bradford; Lee, Brandon; Ramsey, Gabriel; Aguirre-Dominguez, Diane
Subject:                RE: Dfinity USA Research LLC v. Bravick


 External Email

Counsel,

We confirm that no member of DFINITY USA Research LLC is a resident of Michigan.

Best regards,
Christina

Christina M. Wong
Senior Associate, Dispute Resolution
Baker McKenzie
Two Embarcadero Center, 11th Floor
San Francisco, California 94111-3802, USA
Tel: +1 415 576 3022
christina.wong@bakermckenzie.com




This message may contain confidential and privileged information. If it has been sent to you in error, please reply to
advise the sender of the error and then immediately delete this message. Please visit
www.bakermckenzie.com/disclaimers for other important information concerning this message.


From: Steinberg, Joachim <JSteinberg@crowell.com>
Sent: Wednesday, July 6, 2022 10:27 AM
To: Newman, Bradford <Bradford.Newman@bakermckenzie.com>
Cc: Ramsey, Gabriel <GRamsey@crowell.com>; Aguirre‐Dominguez, Diane <DAguirre‐Dominguez@crowell.com>
Subject: [EXTERNAL] Dfinity USA Research LLC v. Bravick

Counsel,

I hope you had a good Fourth of July weekend. When we spoke on Friday, July 1, you asked me to email you if we hadn’t
heard back by Tuesday in response to our question about the members of Dfinity USA Research LLC. As a reminder, we
asked whether any of the members of the LLC are citizens of Michigan. Based on our analysis, we don’t believe that any
of the members are, but can you confirm that for us by tomorrow?

Best regards,
Joachim


Joachim B. Steinberg
Pronouns: he/him/his
jsteinberg@crowell.com
+1.415.365.7461 direct | +1.917.575.6244 mobile

                                                              1
                        Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 6 of 49

LinkedIn

Crowell & Moring LLP
3 Embarcadero Center
26th Floor
San Francisco, CA 94111


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(or postmaster@crowell.com) by reply e‐mail, and delete this e‐mail. Unauthorized dissemination, forwarding or copying of this e‐mail is strictly prohibited.




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Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 7 of 49




  EXHIBIT B
                             Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 8 of 49

                            Secretary of State                                                      LLC-12                                           18-D55195
                            Statement of Information
                            (Limited Liability Company)                                                                                               FILED
                                                                                                                                      In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                                  of the State of California

 Filing Fee – $20.00
                                                                                                                                                     OCT 24, 2018
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                      This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  DFINITY USA RESEARCH, LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             201729110045                                               DELAWARE
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                         City (no abbreviations)                                         State       Zip Code
 411 Acacia Ave                                                                                      Palo Alto                                                          CA          94306
 b. Mailing Address of LLC, if different than item 4a                                                   City (no abbreviations)                                         State       Zip Code
 411 Acacia Ave                                                                                      Palo Alto                                                          CA          94306
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box       City (no abbreviations)                                         State       Zip Code
 411 Acacia Ave                                                                                      Palo Alto                                                          CA          94306
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                              Middle Name                      Last Name                                             Suffix
  Artia
 b. Entity Name - Do not complete Item 5a
                                                                                                    I                                  IMoghbel                                          I
 c. Address                                                                                             City (no abbreviations)                                         State       Zip Code
  411 Acacia Ave                                                                                    IPalo Alto                                                      I CA I94306
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                       Middle Name                      Last Name                                             Suffix
 Kathy                                                                                                                                  Nakahara
 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                            City (no abbreviations)                                         State       Zip Code
 1500 Fashion Island Blvd, Suite 102                                                                 San Mateo                                                          CA           94404
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b



 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Technology
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                          Middle Name                      Last Name                                             Suffix
 Dominic                                                                                                                                 Williams
 b. Address                                                                                             City (no abbreviations)                                         State       Zip Code
 411 Acacia Ave                                                                                      Palo Alto
                                                                                                                                                                    I   CA
                                                                                                                                                                                I   94306
 9. The Information contained herein, including any attachments, is true and correct.

   10/24/2018                    Mark Glanville                                                                           Accounting & Finance
  _____________________            ____________________________________________________________                           _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                      Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                                
Company:

Address:
City/State/Zip:                                                                                                      

 LLC-12 (REV 01/2017)
                                                                                            Page 1 of 1                                               2017 California Secretary of State
                                                                                                                                                         www.sos.ca.gov/business/be
Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 9 of 49




  EXHIBIT C
                                  Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 10 of 49
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                                     Secretary of State                                                  LLC-12                                                 FILED
                                                                                                                                                      Secretary of State
                                     Statement of Information
                                                                                                                                                      State of California
                                     (Limited Liability Company)
                                                                                                                                                            SEP 13 2019
          IMPORTANT -This form can be filed online at bizfile.sos.ca.gov.
           Read instructions before completing this form.
           Filing Fee - $20.00
           Copy Fees - First page $1.00; each attachment page $0.50;
                       Certification Fee - $5.00 plus copy fees

           1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)


             DFINITY USA Research, LLC

           2. 12~Digit Secretary of State Entity (File) Number                             3.   State, Foreign Country or Place of Organization (only if formed outside of California)

               201729110045                                                                ·Delaware

           4. Business Addresses
           a. Street Address of Prircipa Office- Do not list a P.O. Box                                      City (no abbreviations)                                         State       Zip Code

              411 Acacia Ave.                                                                                 Palo Alto                                                      CA          94306
           b. Mailing Address of LLC, ifdifferentthan item4a                                                 City (no abbrwiabons)                                           State       Zip Code



           c. Street Address d California O'fi:e, if ltem4a is not in Calfomia- Do not list a P.O. Box       City (no abbrwiabons)                                           State       Zip Code
                                                                                                                                                                             CA

                                                       If no managers have been appointed or elected, provide the name and address of each member. At least one name .!,!lg address
           5. Manager(s) or Member(s)                  must be listed. If the manager/member is an individual, complete Items Sa and Sc (leave Item Sb blank). If the manager/member is
                                                       an entity, complete Jtems Sb and Sc (leave Item Sa blank). Note: The LLC cannot SeNe as its Ov.Tl manager or member. If the LLC

           a. F\rs\ Name, if an \ndi,.,klua\ - Do nclcoff"4)16.e \\em5b                                  I
                                                       has additional managers/members, enter the name(s) and address(es) on Form LLC.12A.
                                                                                                                                               Last Nams
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                                                                                                                                           I
                                                                                                             Mdd\eName                                                                           Suffix
              Artia                                                                                                                            Moghbcl
           b. Entity Name- Do not complete ltem5a



           c. Address
                         411 Acacia A vc.
                                                                                                             City (no sbbro.-iations)                                    I I Stale       Zip Code


           6. Service of Process {Must provide either Individual OR Corporation.)
                                                                                                         I    Palo Alto                                                      CA          94306

                 INDIVIDUAL - Complete Items 6a and 6b only. Musi include agent's full name and California street address.

           a. CalifomiaAgenrs First Name (if agent is not a corporalon)                                      Middle Name                   l   Last Name                                         Suffix

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           b. Street Address(if agert is not a corporlticn)- Do not enter a P.O. Box                         City (no abbreviations)
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                 CORPORATION - Complete Item 6c only. Only include the name of the registered agent Corporation.
          c. California Registered Corp::irate Agent's Name (if agoot isa corpora ion)- Do notCOfllllete Item 6a or6b

               C T Corporation System                       ~
           7. Type of Business
           Describe the type of busness or savices of the Lim led Liablity Ccrni:eny

             Technology
           8. Chief Executive Officer, if elected or appointed
           a. First Name                                                                                     Middle Name                       Last Name                                         Suffix


           b. Address
                               Dominic
                                                                                                             City (no abbreviations)
                                                                                                                                           I Williams                        Slate   I
                                                                                                                                                                                       I Zip Code
                         411 Acacia Ave.                                                                      Palo Alto                                                  I   CA                94306

           9. The Information contained herein, 1nclud1ng any attachments made part of this document, is true and correct.                                                                     by

                                                                                                                                                                          Gt~ ~
                                                                                                                                                                                  DocuSigned


             9/12/2019                         Maoa Cho                                                                         Legal Opernl,o,s
             Date                              Type or A-mt Narre of Person Co!Tl)let1ng the Form                             litle                             Signature         AJ&IFF 4HEGF 4ei


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                      Artia Moghbel                                                                               ~ Draft Ventures
                      Co +founder at Draft Ventures
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                      Austin, Texas, United States · Contact info                                                 ~      City of New York                               David Rodriguez • 3rd+
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                                    Jan 2015 - Present · 7 yrs 7 mos                                                                                                    Co-founder@ Stealth     Q
                                     Fund focused on early st age investments in t ech. Invest ed in 70+ po rtfolio companies at the seed st age                        (Connect)
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                                     More: d raftvc.com
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                      RIii Strategic Proj ects                                                                                                                          Ed ucation and Technology Entrepreneur

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                          G         Greycroft
                                    2 y rs 5 m os

                                                                                                                                                                                   Google Cloud Platform
                            •        Entrepreneur in Residence
                                    2012 - 2013 • 1 yr                                                                                                                             Essential Training for. ..



                            •        Investor
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                            Artia Moghbel
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                            Co-founde, at Draft Ventures
                                                                                                                                                                                   6 Message.,

                                    Venture-backed consumer ap p for booking sho rt- term stays w it h local hosts, all via mobile.
                                                                                                                                                                                     Leading with Empathy


                         G          Greycroft
                                    2 yrs 5 mos

                                                                                                                                                                                     Google Cloud Platform
                            •       Entrepreneur in Residence
                                    2012 - 20 13 • 1 yr                                                                                                                              Essential Training for...


                            •       Investor
                                                                                                                                                                    Access with Crowell & Moring LLP
                                    Sep 2010 - Jun 2012 - 1 yr 10 mos

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                                                                                                                                                                        Learn more                Learn more
                        Skills
                        Ent repreneurship

                        e       Endorsed by Bubba Page and 14 ot hers who are hig hly skilled at this

                        ■       Endorsed by 2 colleagues at Overnight - Homesharing with friends and more

                         : : 53 endorsements



                        Venture Capital

                        .J,.    Endorsed by David Rodriguez and 1 other who is highly skilled at this

                                Endorsed by 3 colleagues at L E.K. Consulting

                         : : 48 endorsements



                        Start-ups

                        .J,.    Endorsed by David Rod riguez and 12 others who are highly skilled at this

                        ■       Endorsed by 2 colleagues at Overnight - Homesharing with friends and more

                         : : 40 endorsements


                                                                             Show all SO skills     ➔




                        Recomme ndat ions
                        Received            Given


                        Nothing to see for now
                        Recommendations that Artia receives will appear here.




                        Interest s
                        Influencers          Companies            Groups       Schools


                        A           Hunter Walk Ill!                                         e         Jose Ferreira ~
                        . . Partner at Homeb rew VC (fmr You Tu be, Google,                            founder of AIICou rse, Bakpax, and Knewton
                                    Second Life product lead)                                          155,760 followers
                                    892.598 followers




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                    Sales Solutions                     Mobile                        Small Business

                    Safety Center


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   EXHIBIT E
                         Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 15 of 49

 o&s Credit
DFINITY USA RESEARCH, LLC - Full Company View                                                                 Saved by Sara Ra el | 06-29-2022




Summary
Order Reference: sra el@crowell.com | Report as of: 06-29-2022 | using Currency as USD




  DFINITY USA RESEARCH, LLC
  Tradestyle(s): DFINITY
   ACTIVE     SINGLE LOCATION


  Address:           904 Ramona St, Palo Alto, CA, 94301,
                     UNITED STATES
  Phone:             -
  D-U-N-S:           08-964-9616
  In Portfolio:      No




   Failure Score                          Delinquency Score                 Age of Business                   Employees


   78                                     93                                5 years                           117
   (No change since last month)           (No change since last month)
                                                                            2017 Year Started




  Company Pro le


  D-U-N-S                                           Mailing Address                             Employees
  08-964-9616                                       United States                               117
  Legal Form                                        Present Control Succeeded                   Age (Year Started)
  Corporation (US)                                  2017                                        5 years (2017)
  History Record                                                                                Named Principal
  Clear                                                                                         Dominic Williams, MNG MBR
  Ownership                                                                                     Line of Business
  Not publicly traded                                                                           Custom computer programming




  Risk Assessment



  Overall Business Risk                                                                          Maximum Credit
                                                                                                 Recommendation

            LOW          LOW-MODERATE        MODERATE       MODERATE-HIGH         HIGH
                                                                                                    US$ 225,000

  Dun & Bradstreet Thinks...
                 Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 16 of 49
   •    Overall assessment of this organization over the next 12 months: VERY                   The recommended limit is based
        STABLE CONDITION                                                                        on a low probability of severe
   •    Based on the predicted risk of business discontinuation: HIGH                           delinquency.
        LIKELIHOOD OF CONTINUED OPERATIONS
   •    Based on the predicted risk of severely delinquent payments: VERY LOW
        POTENTIAL FOR SEVERELY DELINQUENT PAYMENTS



D&B Viability Rating
Portfolio Comparison Score

       3
Low Risk (1)                                                 High Risk (9)
                                                                              Company's risk level is:

                                                                                                         -
                                                                                                         LOW


                                                                              Probability that a company will go out of business,
                                                                              become dormant/inactive, or le for
                                                                              bankruptcy/insolvency within the next 12 months: 7.00
                                                                              %


Failure Score Formerly Financial Stress Score                                                   Past 12 Months

                                                                                                 Low
                       78                                                                                                        •
Low Risk (100)                                                                  High Risk (1)
                                                                                                 _/
Company's risk level is:    LOW-MODERATE
                                                                                                 High

Probability of failure over the next 12 months: 0.10 %



Delinquency Score Formerly Commercial Credit Score                                              Past 12 Months

                                                                                                 Low
        93
Low Risk (100)
Company's risk level is:
                           -LOW


Probability of delinquency over the next 12 months: 1.35 %
                                                                                High Risk (1)

                                                                                                 High




D&B Rating

Current Rating as of 09-15-2021

Special Rating

-- : Undetermined


Legal Events                                                                 Trade Payments



 Events                Occurrences                  Last Filed               Highest Past Due

Bankruptcies          0                         -
Judgements            0                         -                              US$ 0
Liens                 0                         -

Suits                 0                         -
                 Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 17 of 49
  Events               Occurrences             Last Filed
                                                                     Highest Now Owing            Total Trade Experiences
 UCC                  0                    -                         US$ 2,500                    2

                                                                     Largest High Credit          Average High Credit
                                                                     US$ 35,000                   US$ 18,750



 Ownership


 This company is a Single Location




 Financial Overview


                                       This company does not have a Financial Summary.




 Country/Regional Insight


 United States              Risk Category

                                          LOW                         MODERATE                        HIGH
                            Low Risk                                                                            High Risk

                            Consecutive hikes in the Fed Funds Rate through end-2022 to ght stubborn in ation threaten
                            to slow growth and increase unemployment.




Risk Assessment
 D&B Risk Assessment



 Overall Business Risk                                                                Maximum Credit
                                                                                      Recommendation

        LOW

                 LJLLJLJ
                  LOW-MODERATE




 Dun & Bradstreet Thinks...
                                     MODERATE        MODERATE-HIGH       HIGH
                                                                                           US$ 225,000

                                                                                      The recommended limit is based
                                                                                      on a low probability of severe
    •   Overall assessment of this organization over the next 12 months: VERY         delinquency.
        STABLE CONDITION
    •   Based on the predicted risk of business discontinuation: HIGH
        LIKELIHOOD OF CONTINUED OPERATIONS
    •   Based on the predicted risk of severely delinquent payments: VERY LOW
        POTENTIAL FOR SEVERELY DELINQUENT PAYMENTS
                    Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 18 of 49



D&B Viability Rating


Portfolio Comparison Score


                3
Low Risk (1)                                                                                                                  High Risk (9)



Rating Con dence Level


         Robust Predictions               Decision Support                     •
                                                                           Directional                          Basic


Data Depth
   • Rich Firmographics
   • Partial Commercial Trading Activity
   • No Financial Attributes

Level of Risk                                   Probability of becoming no longer             Percentage of businesses ranked
Low                                             viable                                        with this score
                                                7.00%                                         11.00%

Average probability of becoming no
longer viable
11.00%



Failure Score Formerly Financial Stress Score



                                       78
Low Risk (100)                                                                                                                High Risk (1)




    •   Insu cient number of payment experiences
    •   Limited time under present management control


Level of Risk                       Raw Score                        Probability of Failure              Average Probability of Failure for
Low-Moderate                        1529                             0.10%                               Businesses in D&B Database
                                                                                                         0.48%
Business and Industry Trends
                      Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 19 of 49
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               Failure Score          -0-




Delinquency Score Formerly Commercial Credit Score



                93
Low Risk (100)                                                                                                                           High Risk (1)




    •   Limited time under present management control
    •   Higher risk industry based on delinquency rates for this industry


Level of Risk                             Raw Score                           Probability of Delinquency               Compared to Businesses in D&B
Low                                       588                                 1.35%                                    Database
                                                                                                                       10.20%
Business and Industry Trends


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                                                                                                                2022       2022
                                                                                                                           2022


               Delinquency Score      -0-          Industry Median …




D&B Rating
                   Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 20 of 49
 Current Rating as of 09-15-2021

 Special Rating

 -- : Undetermined

Trade Payments
 Trade Payments Summary (Based on 24 months of data)


 Overall Payment Behavior          % of Trade Within Terms           Highest Past Due

                                   0%                                US$ 0
 -
 Days Beyond Terms


 Highest Now Owing:                Total Trade Experiences:          Total Unfavorable Comments:
 US$ 2,500                         2                                 0

                                   Largest High Credit:              Largest High Credit:
                                   US$ 35,000                        US$ 0

                                   Average High Credit:              Total Placed in Collections:
                                   US$ 18,750                        0

                                                                     Largest High Credit:
                                                                     US$ 0




 Trade Payments By Credit Extended (Based on 12 months of data)



  Range of Credit Extended (US$)               Number of Payment Experiences             Total Value       % Within Terms

 100,000 & over                                                                 0              US$ 0                0

 50,000 - 99,999                                                                0              US$ 0                0

 15,000 - 49,999                                                                1        US$ 35,000             100

 5,000 - 14,999                                                                 0              US$ 0                0

 1,000 - 4,999                                                                  1           US$ 2,500           100
 Less than 1,000                                                                0              US$ 0                0




 Trade Payments By Industry (Based on 24 months of data)



                          Number of         Largest                            1 - 30        31 - 60     61 - 90          91 +
                          Payment           High Credit     % Within Terms     Days         Days Late   Days Late        Days
  Industry Category      Experiences       (US$)          (Expand to View)   Late (%)         (%)         (%)          Late (%)


  48 -                                 1         2,500
    Communications

    4813 - Telephone                    1         2,500               100            0              0          0              0
    communictns
                    Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 21 of 49
                            Number of                 Largest                                     1 - 30      31 - 60         61 - 90           91 +
                            Payment                   High Credit       % Within Terms            Days       Days Late       Days Late         Days
  Industry Category        Experiences               (US$)            (Expand to View)          Late (%)       (%)             (%)           Late (%)

  99 -                                        1          35,000
     Nonclassi able
     Establishments

     9999 -                                    1          35,000                      100              0               0                  0         0
     Nonclassi ed




 Trade Lines




  Date of             Payment              Selling             High Credit            Now Owes              Past Due
  Experience         Status               Terms                     (US$)                (US$)                (US$)        Months Since Last Sale

 05/22                 Pays            -                             35,000                      0                0              Between 2 and 3
                       Promptly                                                                                                          Months

 05/22                 Pays            -                              2,500                 2,500                 0                                 1
                       Promptly




Legal Events
 Judgements                        Liens                                      Suits                                    UCC Filings


 0                                 0                                          0                                        0
 Latest Filing: -                  Latest Filing: -                           Latest Filing: -                         Latest Filing: -



                                    D&B has not received any Public Filings for this company


Special Events
                                     There are no Special Events recorded for this business.


Company Pro le
 Company Overview


 D-U-N-S                                           Mailing Address                                   Employees
 08-964-9616                                       United States                                     117
 Legal Form                                        Present Control Succeeded                         Age (Year Started)
 Corporation (US)                                  2017                                              5 years (2017)
 History Record                                                                                      Named Principal
 Clear                                                                                               Dominic Williams, MNG MBR
 Ownership                                                                                           Line of Business
 Not publicly traded                                                                                 Custom computer programming
               Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 22 of 49
Business Registration


Corporate and business registrations reported by the secretary of state or other o cial source as of: -
This data is for informational purposes only, certi cation can only be obtained through the O ce of the Secretary of State.

Registered Name                       DFINITY USA RESEARCH, LLC

Corporation Type                      Corporation (US)

Business Commenced On                 2017




Principals


 O cers

 DOMINIC WILLIAMS, MNG MBR
 GIAN BOCHSLER, MNG MBR
 JAN CAMENISCH, MNG MBR
 JOSH DRAKE, MNG MBR
 LOMESH DUTTA, MNG MBR
 MICHAEL LEE, MNG MBR
 PAUL MEEUSEN, MNG MBR

 Directors

 THE OFFICER(S)




Company Events


The following information was reported on: 05-28-2022

The Delaware Secretary of State's business registrations le showed that D nity USA Research, LLC was registered as a
Limited Liability Company on August 9, 2017, under le registration number 6506821.

Business started 2017.

DOMINIC WILLIAMS. Antecedents not available.

GIAN BOCHSLER. Antecedents not available.

JAN CAMENISCH. Antecedents not available.

JOSH DRAKE. Antecedents not available.

LOMESH DUTTA. Antecedents not available.

MICHAEL LEE. Antecedents not available.

PAUL MEEUSEN. Antecedents not available.




Business Activities And Employees


The following information was reported on: 05-28-2022
                Case 5:22-cv-03732-EJD Document 13-1 Filed 07/08/22 Page 23 of 49
  Business Information

 Trade Names                            DFINITY
 Description                            Provides computer programming services, specializing in software development
                                        (100%).


 Employees                              117.

 Financing Status                       Unsecured
 Facilities                             Occupies premises in building.


 SIC/NAICS Information


                                                                                                                        Percentage of
  SIC Codes                                             SIC Description                                                 Business

 7371                                                  Custom computer programming                                  -
 73710301                                              Computer software development                                -




  NAICS Codes                                           NAICS Description

 541511                                                Custom Computer Programming Services




 Government Activity



  Activity Summary

 Borrower(Dir/Guar)                     No

 Administrative Debt                    No
 Contractor                             No

 Grantee                                No

 Party excluded from federal            No
 program(s)




Financials
                             D&B currently has no nancial information on le for this company



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                                                                                                                                    ( Follow )
      Dominic W illiams oo                                        ■       DFI NITY
      Inte rn et Computer @D FINITY
      Zurich, Switzerland · Contact info                          II      King 's College London                 Peop le a lso viewed
      500 + connect ions
                                                                                                                           Gian Bochsler • 3rd + Im

      @$-i,i,ii;• ( 6 Message )              ( More )
                                                                                                                           Fondateur chez Bochsler finance &
                                                                                                                           Associes

                                                                                                                           ( + Fol low)

      About                                                                                                                Timo Hanke • 3rd +
                                                                                                                           Princ ipal Researcher at OFINITY
      I'm moving my pro fessional p rofi le updates to the blo ckchain.
      You can find me o n d istrikt:                                                                                       (Connect)
      https://az5sd -cq aaa-aaaae-aaa rq -cai.icO.app/ u/vrfS
                                                                                                                           Connor Solimano • 3rd +
                                                                                                                           Investment Team at Insight Partners


                                                                                                                           (Connect)
      Activity
      7,295 followers

      Domi nic hasn't posted lately
      Dom inic's recent posts and comments will be d isplayed here.
                                                                                                                 0         Anna Escher · 3rd +
                                                                                                                           Head of Audience Development at
                                                                                                                           OFINITY


                                                                                                                           (Connect)
                                             Show a ll   activity ➔
                                                                                                                           John Plevyak • 3rd +
                                                                                                                           Director of Engineer ing at OFINITY


      Experience                                                                                                           (Connect)
      ■         Founde r/Chief Scientist                                                                                   Benj amin Lynn · 3rd +
                DFINITY
                                                                                                                           Eng ineer at OFINITY
                Jan 2015 - Present , 7 yrs 6 mos
                Zurich, SF and Palo Alto                                                                                   (Connect)
                Wo rking on t he Internet Com puter!
                https:/ / i nte rnetcompute r.o rg                                                                         Kh ushboo Bind lish • 3rd +
                https://dfinity.org                                                                                        lead Engineer at Dfinity

                                                                                                                           (Connect)
                President & CTO
       string
                St ring Labs, Inc                                                                                          Ba s van Dij k • 3rd +
                Jun 2015 - Feb 2018 · 2 yrs 9 mos                                                                          Building the Internet Compute,
                Palo Alto, California

                St ring Labs is a boutique incubator of o pen protocol and next g eneratio n crypto                 a       Messaging      1           •••    ~    ...-..




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                  Palo Alto, California
                                                                                                                                                                                       (Co nnect )
                 String Labs is a boutique incubator of o pen protocol and next g eneratio n crypto
                 proj ect s t hat is venture-backed . In the summer of 2016, String Labs began incubating
                                                                                                                                                                                       David Ribeiro Alves • 3rd +
                 t he DFINITY p roj ect. g enerating very su bstant ial returns for investors. String Labs has
                                                                                                                                                                                       Distributed systems engineer
                 also wo rked on o ther crypto proj ect s, including "mirro r assets··. which aimed to
                 d emocratize access to investable assets arou nd the wo rld. Investors includ e Amino
                                                                                                                                                                                       (Co nnect )
                 Capital. FBS Cap ital, Zhen Fund and IDG Capital Part ners.

                                                                                                                                                                                       Diego Prats • 3rd + Im
                  Digitia l Assets                                                                                                                                                     R&D at DFINITY (working on the
                 School of Life                                                                                                                                                        Internet Computer)
                 Jan 1999 - May 2016 • 17 yrs 5 mos
                                                                                                                                                                                       (Co nnect )
                 While I researched cryptography and distributed consensus techniques 2013 -20 15, I
                 occupied myself trad ing dig ital assets. Before crypto. adventures includ ed being the
                 previous ow ner of t he d omain nam e "'archives.com ··, which becam e the home to a                                                                   (m    L E AR N I N G
                 billio n d ollar business, and lo ng ago in the v ery early days o f the mob ile internet, I
                 bro kered the UK"s larg est sale of smart pho nes to Cantor Fitzg erald (if you·re                                                                     Add new skills with these courses,
                 wondering, it was t he XDA. running M icrosoft Windows CE... how things change!!}                                                                      free for 24 hou rs

                                                                                                                                                                        ~ Unreal Eng ine: Ga me
                  Crypto enzyme
       MIRROR
                                                                                                                                                                        -                          Terrain Techniq ues
                 Mirro r Labs
                 Mar 2015 - Jun 2015 · 4 mos
                 San Francisco
                                                                                                                                                                        ~ Supporting Your Mental
                 Mirro r Labs was an ea rly p ioneer of d ecentralized finance, aiming to create "mirro r                                                               ~                          Healt h While Working,..
                 assets·· on the Bitcoin blockchain t hroug h the ap plicatio n of techniq ues similar to thoe
                 used in the Lightning N etwo rk. I j o ined to assist w it h software d evelopment
                 methodologies, and knocked o ut a Po C d ecentralized marketplace for mirror assets                                                                    ~ Ag ile Software
                 t hat ran as an overlay on t he Tox private chat net wo rk (in C+ + and Go}                                                                            L!:J.~                     Development: Dealing.,.


                  Founder/CEO
                  Fight My Mo nster                                                                                                                                          Access with Crowe ll & Moring LLP
                  2010 - Sep 2013 • 3 yrs 9 mos
                  Lo ndon and San Francisco                                                                                                                           Pro moted
                                                                                                                                                                                      Communicate Effectively
                 Fight My Mo nster was an M MO g ame that g rew at an explosive rate and entertained
                                                                                                                                                                                      92%of professio nals who use                          )
                 millio ns of children around the world . Incid entally the und erlying infrastructure also
                                                                                                                                                                                      Grammarty say it has saved them time.
                 helped pio neer several d istributed computing technologies including the Cassandra                                                                                  Try now!
                 d atabase (applying t he system in pro ductio n while it was st ill in beta}. After a January
                                                                                                                                                                                     Bruce Clay Inc
                 2011 launch Fig ht My Monster grew to 1 mill ion user accounts in t he first year after
                                                                                                                                                                                     A PPC Agency That Actually Grows Your )
                 picking up 30,000 users in t he first t wo weeks. I was t he main so urce of funding for
                                                                                                                                                                                     Business
                 t he company, wit h two other angels, for the fi rst year until we raised vc fu nd s
                 February 2012 then g rowing to almost 3M user accounts. At that stag e our venture
                                                                                                                                                                                     Patent Experts
                 backers includ ed Greycroft Part ners (Klout, Bud dy Media. M aker Stud ios}, eVenture
                                                                                                                                                                                     Get a free provisional patent if you file              )
                 Capital Partners (Groupon. Ang ie's List, Sonos} and several well known ang el investors,                                                                           your non-provisional using us,


                                                      Show a ll 7 experien ces                   ➔




      Educatio n


      II          King 's Colle g e Lond o n
                  Bachelor's Deg ree, Com puter Science
                  1992 • 1995
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                      February 2D12 then g rowing to almost 3M user accounts. At that stag e our venture
                      backers includ ed Greycroft Part ners (Klout, Bud dy Media, M aker Stud ios). eVenture
                      Capital Partners (Groupon. Ang ie's l ist. Sones) and several w ell known ang el investors.
                                                                                                                                                                             Pro moted
                                                                                                                                                                                      Communicate Effectively
                                                                                                                                                                                      92%of professio nals who use                )
                                                                     Show all 7 experi ences                           ➔                                                              Grammarty say it has saved them time.
                                                                                                                                                                                      Try now!

                                                                                                                                                                                      Bruce Clay Inc
        Education                                                                                                                                                                     A PPC Agency That Actually Grows You r )
                                                                                                                                                                                      Business


        II            King's College Lond on
                      Bachelor's Deg ree, Com puter Science
                      1992 - 1995
                      Grad e: 1st Class Honours
                                                                                                                                                                                      Patent Experts
                                                                                                                                                                                      Get a free provisional patent if you file
                                                                                                                                                                                      your non-provisional using us,
                                                                                                                                                                                                                                  )



                      1st Class Degree (equiv. summa cu m laud e in US) and acad em ic prizes inc. Hig hest
                      Scoring 1st Class Honors in Computer Science, Sam brooke Exhib it ion (best
                      performance in School of Engineering and Physical Sciences) and others.




        Skills
        Ent repreneurship


        Distribut ed Systems


        Decentralized Systems

                                                                               Show all 11 skills               ➔




        Interests
        Influencers            Companies                                     Groups                     Schools


                      And rew 'Flip' Fili powsk i Im
                      Co Fou nd er & Co CEO Fluree, PBC
                      234,111 followers




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Sales Solutions                      Mobile                                                          Srnall Business

Safety Center


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                                                                                                                                                      Crowell we innovate to meet the needs of business
                                                                                                                                                                        and industry




                                                                                                                                                        We' re yo ur workforce re source in Lake
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                                                                                                                                                                           ~
                                                                                                          ~ Bochsler Finance & Associes
                       Gian Bochsler                                                                      ~ SA                                      People also viewed
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                       Zug, Zug, Switzerland · Contact info                                                                                                      Dominic Williams co • 3rd +       Im
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                                 Led product/grow th/ partnerships fo r all recurring consumer payments (Electricity. Water, Gas, Credit Cards,
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                            Lo mesh Dutta oo
                           VP o f Growth, DFINITY
                                                                                                                                                       ~(             6 Message )       @i@iHf-
                                     - Managed team o f PM 's, identified g rowth vectors, d efined product strategy & managed hypothesis d riven
                                     experimentatio n.
                                     - l ed prod uct integratio n wit h Bha rat Bill Payme nt Se rvices (in partne rship w it h NPCI).                 Pro mote d
                                                                                                                                                               Commun icate Effect ively

                           •        Vice President and Bus iness Head, Develo per Platform (Payments}
                                     Full-t ime
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                                     Dec 2015 - Oct 2017 • 1 yr 11 mos                                                                                         Bruce Clay Inc
                                     Noida, India and San Francisco Bay Area
                                                                                                                                                               ::~~~gency Tha t Actually Grows Your }
                                     Led Paytm's d eveloper p lat form for merchant payment acceptance (business.paytm.com).
                                     - M anaged 75 + person team comprising of prod uct m anagers, UX eng ineers, BO, m arket ing & sales.
                                                                                                                                                               Patent Experts
                                    - Drove complete business/ product st rategy, d efined and executed prod uct road map, aligned cross funct ional
                                    stakeho lders o peratio ns, risk. finance, payout legal etc.



                                    Angel/Advisor
                                     Launcho ra Inc.
                                     Feb 2014 - Oct 2017 • 3 yrs 9 mos
                                    San Francisco Bay Area


                                    Co-Fo u nder and CEO (acquired by Paytm)
                                    Near.in
                                    Jul 2014 - Nov 2015 · 1 yr S mos
                                     New Delh i Area, India

                                     Near.in has been acq uired by Paytm

                                     - l ed the team to create a market place for hyper1oca1services.
                                     - Drove overall business/ product strategy and executio n.
                                     - Raised funding from investors in India and US.
                                     - Formulated partnership to create services as a category o n Paytm e-commerce marketplace which
                                     eventually resulted in t he company getting acquired.


                                                                            Show all 11 experiences ➔



                     Education
                          ffi!:1     Delhi College of Engineering
                     -.)8_           Bachelor of Technology (B.Tech.)
                                     1998 - 2002

                                    The University of New Mexico
                                     Master of Science (M.S.)
                                     2002 - 2004

                                    Ecole d 'ingenieurs et d 'archite ctes de Fribourg / Hochschule fur Techn ik und Arch ite ktu r
                                    Freiburg
                                    2001 - 2001

                                     Internship at school of Eng ineering and Architecture - Fribourg - Switzerland .




                     Skills
                     Product Management

                          -> End orsed by Sud hir Kadam and 4 others who are hig hly skilled at this

                      rZ       End orsed by 6 colleagues at Paytm

                     : : 54 endorsements



                     Business Dev el opment

                      '        Endorsed by M ahesh Khera and 3 others who are highly skilled at this

                      rZ       Endorsed by 9 colleagues at Paytm

                     : : 59 endorsements



                     Start-up s
                               Endorsed by Pankaj Jain and 8 ot hers who are highly skilled at t his

                      rZ       End orsed by 9 colleagues at Paytm

                     : : 93 endorsements


                                                                                 Show a ll 27 skills    ➔




                     Recommendations                                                                                                                                                       Q      Messaging   1   •••   ~   ,....._




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                        : : 54 endorsements
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                       Bus iness Development                                                                                                                                 Bruce Clay Inc

                        '      Endorsed by M ahesh Khera and 3 ot hers who are highly skilled at this                                                                       ::~~~gency That Actually Grows Your }


                        ~      Endorsed by 9 colleagues at Paytm
                                                                                                                                                                             Pate nt Experts
                        : : 59 endorsement s



                       Start-ups
                               Endorsed by Pankaj Jain and 8 ot hers w ho are highly skilled at t his

                        ~ Endorsed by 9 colleagues at Paytm

                        : : 93 endorsement s



                                                                              Show all 27 skills       ➔




                       Recommendations
                       Received            Given


                       ~ . Paolo Rizzard ini II:!
                       U           Chief Executive Of ficer (CEO} M o ndia Dig ital at Mondia Group
                                   November 22, 2010, Paolo was lomesh's client

                                   Lo mesh is a very t alent ed and efficient manag er. He can co mbine the rig ht business view with a stro ng
                                   t echnical understanding. Wo rking w ith him has been a g reat experience and I w ill surely do it again as soon
                                   as we get a chance.


                                   Umesh Ubriani
                                   IT Consult ant
                                   February 10, 2009, Umesh w o rked w ith Lomesh but on d ifferent teams

                                   Have known Lomesh now for more than 10 y ears and have seen him t ransform int o a successful ent repreneur.
                                   This is no m ean achievement, g iv en the fact that he has been ab le t o do it in first 5 y ears of his professio nal
                                   life. He has uncanny ability t o spot o ppo rtunity and pursue it t ill the end t o make it a success.

                                   I w ish l omesh success for all his fut ure end eav o rs


                                   Nime sh Bhandari
                                   Cat egory Head at M ag icb ricks
                                   November 21, 2008, Nimesh worked with l omesh but they were at different companies

                                   Lo mesh exud es lot of en ergy and enthusiasm in w ork.
                                   His passio n t o create w irlde has b een exemplary. He is also o pen t o exp erimenting w ith new ideas and
                                   initiatives. He not o nly has a solid t echnological fou ndation but also has kind of magnetism and b usiness
                                   insig ht which makes him an excellent Business dev elo pment professional.


                                                                            Show all 26 received          ➔




                       Inte rests
                       Influencers             Companies         Groups         Schools


                                   Guy Kawasaki !Ill                                                      Na rend ra Mod i !Ill
                                   On a mission t o make peo ple remarkable. Chief             •          Prime M inist er of India
                                   evangelist, Canva. Host, Remarkable People                             3,764,536 followers
                                   pod cast.
                                   3,053,311 followers


                                                                           Show all 8 influencers           ➔




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                     Michael Lee                                                                         II     DFINITY
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                                                                                                         I"&    Northwestern University -
                     San Francisco, California, Unite d States· Contact info                             ~      Kellogg School of
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                     About
                                                                                                                                                  ~             :t:'        Support ing Your Mental
                                                                                                                                                  ~                         Health While Working fro ...
                     Currently leads g lo bal communications and marketing, community, Asia o pe rat ions, and We b3 games at DFINITY. Our
                     missio n is to build , promote and maintain the Internet Computer - and by doing so, improve the world.
                                                                                                                                                                            AutoCAD 2021 Essential
                     Led g lobal communication teams at IBM and HP. and took Pivotal Software t hrough a successful IPO.                                                    Train ing

                     Prior, worked for Democratic National Committee (DNC) Chairman David Wilhelm to make a difference in the lives of
                     o rd inary peo ple - clients included Hillary Clinto n, Jesse Jackson Sr., and Barack Obama.                                       Access with Crowe ll & Moring LLP
                                                                                                                                                  -

                     Also created television properties fo r ABC, Comedy Cent ral and Showtime, as well as directly investing in early stage
                                                                                                                                                      Pro moted


                                                                                                                                                  e
                     startups and crypto proj ects. Started my career at Salomon Brothers after reading Liar's Po ker.
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                     4,444 followers
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                     Bravo   C,
                                                                                                                                                                Patents and Trademarks

                                                                                                                                    35 comments

                     Michael Lee commented on a post • 2mo

                     Bravo   C,

                                                                                                                                    80comments

                     Michael Lee commented on a post • 2mo

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                     Cfl sg                                                                                                         20comments


                                                                       Show a ll   activity ➔




                     Experience
                     RII Vice President, Communications
                     -            DFIN ITY
                                  2019 - Present · 3 yrs 6 mos
                                  Palo Alto, CA

                              Responsible fo r teams steward ing g lobal com munications and market ing, community. Asia operatio ns. and
                              Web3 games.

                              The DFINITY Fo undation incubated and launched the Internet Comp uter (May 2021). the most powerful
                              general-pu rpo se b lockchain to build Web3 dapps, DeFi, games, NFTs, social med ia, and m etaverse used by




                              --
                              billions o f users.




                     ■ Writer/ Producer
                               Walt Disney Television
                              2018 - 20 19 , 1 yr
                                  Bu rbank. CA

                              Co-created a television series (M URDER CAPITAL), currently under-development at ABC, alongside execut ive
                              pro ducers Chad Stahelski (JOHN WICK and THE MATRIX series} and lce-T.




                     Iii       Vice President, Communications
                                  Pivotal Software, Inc.
                                  2015 - 20 18 · 3 yrs
                                                                                                                                                                                               Q     Messaging    1   •••   ~   ,....._




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                   ~ M ichael lee
                   ~      Crypto at DFINITY
                                                                                                                                                       ~(                6 Message.,        @•l:i:•J.♦

                     Iii        Vice President, Communications
                                 Pivo ta l Softwa re, Inc.
                                 2015 - 2018 · 3 yrs
                                                                                                                                                      Pro mote d
                                                                                                                                                              Com m un icate Effective ly
                                Sa n Francisco, CA

                                 Led g lo ba l com m unicatio ns fo r a five-year o ld clo ud pla tfo rm pheno m enon -   from fast- rising startup
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                                t hrough IPO, and now as a g lobal company wit h over 2,500 employees across 30 locations.
                                                                                                                                                              Bruce Clay Inc

                     (,Ii)       !;nior Director, Commun ications
                                                                                                                                                              : : ~~ ~gency Tha t Actually Grows Your }



                                2013 - 2015 • 2 yrs                                                                                                           Pat ent s and Trademarks
                                 Palo A lt o, CA

                                 Led g lobal communications for the Hewlett-Packa rd Company, a $120 billion annual revenue business
                                o perating in 170 count ries with over 400,000 employees.


                                 Senior Manager, Communications
                                 IBM
                                2008 - 2012 • 4 yrs
                                Armonk, NY


                                                                        Show all 11 experiences ➔



                     Educat io n
                     I"& Northwestern Univers ity - Kellogg School of Management
                     ~           M BA
                                 2010 - 2012


                                 University of Chicago
                         {¥)     MA Econom ic Policy
                                 1998 - 2000


                                 Universit y of Chicago
                                 BA Economics // BA Public Policy
                                 1995 - 1998


                                                                         Show a ll 4 education ➔



                     Volunt eeri ng
                                 Board Member
                                The Extra Mile Organizatio n
                                Jan 2012 - Jan 2015 , 3 yrs 1 mo
                     -           Health




                     Skills

                     Strategy
                         :; Endorsed by M ichael Schulze and 8 ot hers w ho are hig hly skilled at this

                     II     Endorsed by 3 colleagues at Pivot al Software, Inc.

                     : : 87 endorsement s



                     Management Consulting
                            Endorsed by Justin M o rrow who is hig hly skilled at this

                     (Ip    Endorsed by 2 colleagues at HP

                     : : 6 5 endorsements



                     Business Strategy

                     ~      Endorsed by Ohad M andelbaum and 4 others who are highly skilled at this

                            Endorsed by 4 colleagues at IBM

                     : : 55 endorsement s



                                                                            Show all 10 skills     ➔




                     H onors & awards
                     Irving B. Harris Fellowship
                     Issued by Universit y of Chicago • Jan 1999
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                   ~ M ichael lee
                   ~        Crypto at DFINITY
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                                    Universit y of Chicago                                                                                                    Pro moted
                                   MA, Economic Policy                                                                                                                 Communicate Effective ly
                                   1998 - 2000                                                                                                                        ~~;m~~;f:;;i~nha~::a~~~:~em
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                                    University of Chicago
                           ij      BA. Economics // BA Public Policy
                                                                                                                                                                       Bruce Clay Inc
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                                   1995 - 1998

                                                                                                                                                                       Pat ent s and Tradem arks
                                                                         Show a ll 4 education ➔



                       Volunteering
                                    Board Member
                                   The E.xtra Mile Organi zatio n
                                   Jan 2012 - Jan 2015 • 3 y rs 1 m o
                       -            Health




                        Skills
                        Strategy

                           -; Endorsed by M ichael Schulze and 8 ot hers w ho are highly skilled at this

                       Iii    Endorsed by 3 colleagues at Pivot al Software, Inc.

                        : : 87 endorsement s



                        Management Consulting

                              Endorsed by Justin M o rrow w ho is hig hly skilled at this

                       f./J Endorsed by 2 colleagues at HP
                        : : 65 endorsement s



                        Business Strategy

                       Qi     End orsed by Ohad M andelbaum and 4 others who are hig hly skilled at thi s

                              Endorsed by 4 colleagues at IBM

                        : : 55 endorsement s


                                                                            Show al l 10 skills ➔



                        H onors & awards
                        Irving B. Harris Fellowship
                        Issued by Universit y of Chicago · Jan 1999


                       The Jane Morton a nd Henry C. Murphy Award
                        Issued by Universit y of Chicago • Jan 1998




                        Interests
                       Companies             Groups



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                      Paul Meeusen
                      Vice Preside nt of Fina nce a t DFINITY oo People may forg et what you
                                                                                                                     II     DFINIw
                                                                                                                                                                 People also viewed
                      said o r d id, b ut neve r forget how you made them feel.                                       IM) IMD Business School
                                                                                                                                                                          Gian Bochsler • 3rd+        mi
                      Talks about # blockchain, #innovation, #cryptocu rrency, and
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                      # switzerlandtourism
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                      @8§18                 I: 6 Mes s a g e ) ~                                                                                                          Dominic Williams co • 3rd+
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                      Featured                                                                                                                                            Samuel Burri • 3rd +       mi
                                                                                                                                                                          Vice Preside nt O f Engineering at DFINITY
                                                                                                  Link



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                                                                                                                                                                          Princ ipa l Researcher at OFINITY




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                                                                                                                                                                          Maria D. • 3rd"'
                                                                                                                     TOP 10                                               Director of Engineering at OFINITY


                                                                                                  Top Ten lnsurTech leaders 2018
                                                                                                                                                                          (Con nect )
                                                                                                  acord.org
                                                                                                                                                                          Lomesh Dutta co • 3rd+
                                                                                                  Be su re to check out our most re cent list . ACORD's
                                                                                                                                                                          VP of Growth, DFIN1TY
                                                                                                  2018 Top Ten InsurTech l eaders were: Tim Batten and
                        The B3i way                                                               Sourav Shah CIO and Senior Digital Product Manager,
                        med :a .licdn.com                                                         MetLife Aust ralia True innovatio n requires teamwork
                                                                                                                                                                          ( + Follow)
                        Intro to the B3i vision to reshape re/ insurance.                         beti.veen business and IT, so we' re kick ing ...
                                                                                                                                                                          Eva Oberholzer • 3rd +
                                                                                                                                                                          Blockcha 1n & Web3 Enthus ·ast I CGO
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                      Activity                                                                                                              ( + Follow)                   ( + Follow)
                      4,123 followers
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                      Paul Meeu sen re shared a post • lw
                                                                                                                                                                          Senior Research Manage r at DFINITY
                                    ) f you want to go fast go alo ne. If you want to go far, go together.KAs professio nals. we can learn a lot
                                    fro m t hese athletes ~ !                                                                                                             (Con nect)

                                                                                                                                                                          Andrea Cerulli • 3rd +
                      Cf'\ 12                                                                                                                      3 comment s            Engineering Manager at DF1NITY


                                                                                                                                                                          (Con nect)




                      •
                      Paul Me eusen re shared a post • lmo

                                    This can j ust not be sha red enough. I am a dual Belgian-Swiss citizen, have lived in the US for many years
                                                                                                                                                                          Victor Shoup • 3rd+
                                    and my children spent wonderful school days there. I can j ust not imagine the d evastat ion, had t his
                                                                                                                                                                          Princ ipal Re sear<:h Sc ent st a t DFlNlTY
                                    happened to our family. When are the American people and their po liticians go ing to stop bi ...show more
                                                                                                                                                                          (Con nect)
                                                                                                                                                   4 comment s


                      Paul Meeusen reshared a post • l mo                                                                                                        Crowell, learn what hiring managers look
                                    Great to see the #robotics work o f Eugenio Chisari and other scholars from to p European universities.                      for in answers to top interview qu estio ns
                                    Watch them in act ion at # icra2022 in Philadelphia this u pcoming week !   Or watch  r1
                                    here https://lnkd.in/dFUqPJSD
                                                                                                                                                                 rA        What would your co-worke rs
                                                                                                                                                                 [A say about you?
                      Paul Meeusen reshared a post • l mo

                                    Elon goes lnsu rtech ... and before yo u say ..what's newr ...
                                    TSLA...
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                                    1/also uses the data to imp rove car/ FSD                                                                  ...show more                me?


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                      About                                                                                                                                                    See all questions
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                    0      Paul Meeusen
                           Vice Preside nt o f Finance at DFJNITY oo People may forg et what you s.aid or -did, but never forg et how yo u made t hem feel.
                                                                                                                                                              ~(          6 Message)     @i@iHf-
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                      Leading the Finance funct ion at DFIN ITY and busy helping t o b uild the Int ernet Computer. Humanity's first truly
                      d ecent ralised glo bal compute net work.                                                                                               e      Communicate Effectively

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                                                                                                                                                              ■
                      Lived in 4 count ries across 3 contine nts, as a finance and ris k manageme nt professio nal with a mission to use                             Bruce Clay Inc
                      t echnolo gy t o work smarter. Named by A cord as o ne of the Top Ten Insur Tech Leaders in 2018. after co-fo unding and
                      leading the first blockchain d ig ital reinsurance platform. Track record of launching and m anaging start -ups and
                                                                                                                                                                    ::~;e~gencyThatActualy GrowsY
                                                                                                                                                                                                our }
                      innovators. Formerly 25y. as g lobal reinsu rer, aud it o r, CFO, shared se rvice leader, PwC consultant, accounting and
                      t reasury p rofessio nal. M aster in Economics, l euven, lnsead, IM O. Triathlon, EV and renewable energy early adopt er. 4
                      lang uages, 3 co re values, 2 child ren, 1 happy marriage. M ot t o: work smart, not j ust hard.




                      Experience
                      -           Vice President Finance
                      -           OFINITY • Full-tim e
                                  Mar 2021 - Present • 1 yr 4 mos
                                  Zu rich, Swit zerland

                                  OFINITY d evelo ps t he Int ernet Com put er w hich is a public blo ckchain netw ork enabling scalable, fast, open
                                  internet services. It allows all of hum anity's sofhvare logic and data t o run in smart cont racts. It is creat ed by
                                  indepe ndent dat a centers worldwide runn ing the Internet Compu ter Prot ocol (ICP). The Finance team
                                  supports DFIN ITY's rapid g rowt h and netv-Jo rk adopt ion. W\vw.dfinity.org


                      ~A          Fou nder and owner
                           1281
                                  Ait ubi
                                  Aug 2019 - Present , 2 y rs 11 mos
                                  Zu ri ch, Swit zerland

                                  Helping innovative businesses and entrepreneurs turning risks int o opportunit ies. Recent client m andates
                                  includ ed prod uct m anagement. regulat ory compliance, business developm ent, financial report ing and
                                  funding for cyber insurance, m icro- insurance, blockchain and insurtech client s, across Germ any, Liec ht enst ein,
                                  Switzerland and USA.


                                  Member Of The Board Of Advisors
                                  Beacon Horizon 2020
                                  Jun 2019 - Present · 3 y rs 1 mo

                                  Blockchain-fueled t oo lbox t hat couples l ead ing Earth Ob servation techno logy wit h weat her int elligence t o
                                  d eliver insight s int o the agri -insurance industry. Comprehenive risk and damage-assessment, smart contract
                                  monit oring and more.



                          p       Chief Product Officer
                                  potypo ly • Contract
                                  Apr 2020 - M ar 2021 · 1 yr
                                  Liechtenst ein, Berlin

                                  Chi ef Product Officer mandat e at personal dat a managem ent company (pol ypoly and it s p re-decessor
                                  v iadata.i o) apply ing edge com puting and fed erated data architecture. l ead business modelling and
                                  devel oped working prot oty pe for t elemati cs based variable insurance p ricing, ret aining u ser control over
                                  personal data. Sharing dat a, privacy preserved.


                                  Interim M anagement - CEO Switzerland
                                  COGITANDA Dataprot ect AG · Cont ract
                                  Oct 2019 - Mar 2020 • 6 m os
                                  ZUrich Area, Sw itzerland

                                  Internatio nal ex pansion of Cyber insurance MGA across Europe. Market study to assess f easibility and
                                  business case for entry into Switzerland, including reg ulatory, legal and industry specific aspects.


                                                                             Show all 15 experiences ➔



                      Educat io n
                                  IMD
                          IM)     Finance for Reinsurance
                                  2001 - 2001
                                  Grade: Executive Program

                                  Advanced finance program, Prof. Did i er Cossin


                      A           1NSEAD
                      W, Young M anagers Prog ramme, Economics
                                  1996 - 1997




                      II          KU l euven
                                  M asters, Economics
                                  1983 - 1988

                                                                                                                                                                                             Q       Messaging    1   •••   ~   ......_




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                                Paul Meeusen
                               Vice Preside nt of Finance at DFJNITY oo People may forget what you s.aid or -did, but never forg et how yo u made t hem feel.
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                                          Nov 2012 - Dec 2017 · 5 y rs 2 mos
                                          Children
                                                                                                                                                                        Patents and Trademarks
                                          Board m em ber and head of f inance for elit e swimming t eam.


                           ,&             Member, Past Pre~id ent Switzerland
                           ~
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                                          Round Table Int ernat ional
                                          Jun 2001 - Present · 2 1 yrs 2 m os
                                          Social Services

                                          Round Table i s a no n-po litical. non-sectari an associat ion open to men betw een t he ages of 18 and 4 5, from
                                          any profession o r trad e.
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                             Licenses & certifi cations
                                          Charted Internal Auditor
                                          Institute of Internal Audit
                                          Issued Jun 2009 · No Expiration Date
                                          Credential ID 14 14628




                             Skills
                             Risk Management

                                 Endorsed by Felix V. and 2 others who are highly skilled at this

                           e     Endorsed by 24 colleagues at Swiss Re

                             : : 56 endorsements



                             Financial Risk

                             : : 4 1 endorsements



                             Interna l Controls
                                 Endorsed by Rusty Nelligan who is highly skilled at this

                           e     Endorsed by 15 colleagues at Swiss Re

                             : : 36 endorsements



                                                                                           Show all 33 skills   ➔




                             Recommendations
                             Received             Given


                                          \Ii Mark Simpson
                                          Enabling organisational competence, confid ence, and com mitment; o ptimising perfo rmance, resilience, and
                                          self-sufficiency. Entrep re neurial behavioural modelling that improves VC/ PE venture selection and venture
                                          execution
                                          January 2, 2020, Paul was           9i Mark's client
                                          Paul has been a client in a number of capacities for over ten years. During th is time, I have seen Paul navigate
                                          a wid e range of challenging and transfo rmational situations.

                                          Paul has consistently d emonstrated a n umber of admirable q ualities, skills and behaviours. At a skills level he
                                          has a d eep knowledge across the insu rance value chain having led, develo ped and transformed a range of
                                          functio ns. However, he is not content to rest on this expertise and is constantly looking to develop his
                                          knowled ge. Paul is innately curious, looking outside of his industry. demonstrating a strong ab ility to connect
                                          ideas and g round them in pract ical outcomes - a real entrepreneurial spirit.

                                          As a lead er Paul looks to coach and support his teams to grow and deliver, he seeks input and ideas. but is
                                          not afraid to make toug h decisions.

                                          Paul is an art iculate and persuasive character that is ab le to grab and sustain the interest of his audience be
                                          t hat in large presentations o r more intimate meetings. He is a person that leaves you with mo re knowledge
                                          and understanding than where you started.

                                          Paul is incred ib lv hard workina . has a st rona values base and is hiahlv resilient. It has atwavs been a oleasure
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                             Paul Meeusen
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                                     Enabling organisational co mpetence, confid ence, a nd co mmitme nt; o ptimis ing pe rformance, resilience, and
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                                    self -sufficiency. Ent repre neuri al behavio ural modelling that impro ves VC/ PE v enture selection and venture
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                                    Paul has been a client in a number of capacities for over t en years. During th is time, I hav e seen Paul nav igat e
                                    a wid e ra ng e of cha llenging a nd tra nsformat ional situatio ns .                                                                            Bruce Clay Inc
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                                    Paul has consist ently d em o nst rat ed a n um ber of adm irable qualities, skills and behaviours. A t a skills level he
                                    has a d eep know ledge acro ss the insu rance value chain hav ing led, develo ped and transform ed a range of
                                    functio ns. How ever, he is not cont ent t o rest on thi s expertise and is const antly looking t o develop his                                  Pat ents and Tradem arks
                                    know led ge. Paul is innately curious, loo king o utside of hi s industry, demo nstrating a strong ab ilit y t o connect
                                    ideas and g ro und t he m in pract ical out com es - a real entrepreneuri al spirit.

                                    As a l ead er Paul looks t o coach and su pport hi s team s t o g row and deliver, he seeks input and ideas. but i s
                                    not afraid t o m ake t oug h decisions.

                                    Paul i s an art iculate and persuasive charact er that is ab le t o grab and sust ain the int erest of hi s aud ience be
                                    t hat in larg e present atio ns o r mo re int im ate m eet ings. He i s a person that leaves you w ith mo re know ledg e
                                    and understanding than where you started.

                                    Paul i s inc red ib ly hard wo rking, has a strong values base and i s h ighly resilient. It has always been a pleasure
                                    t o wo rk w ith Paul - a man of g reat c haracter and abilit y.




                                    Nayeema Kouser
                                    Director - Driving Business Value through Dig it al Finance
                                    Novembe r 8, 20 19, Nayeem a reported d irectly to Paul

                                    Paul i s a v isi onary and an inspiratio nal leader. someo ne w ho has his head o n his sho ulder and hi s heart in its
                                    right place, his expert ise o n block chain and in-depth know ledg e o n creating w orld class Organizat ion is the
                                    best by far I have experi enced, complet e pleasure t o w o rk w it h


                                     Rusty Nelligan
                                    Independent Non -Execut ive Directo r
                                    November 3, 20 19, Rusty was senior t o Paul but d idn't manage Paul directly

                                    I wo rk ed w ith Paul for many years first at PwC in Sw itzerland and then lat er at Swi ss Re. He is a person of
                                    strong int egrity, int ellect, and ambition. He i s creative and highly dependab le, and a visionary lead er.


                                                                                 Show all 9 received           ➔




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                         Dutch
                         Native or bilingual proficiency


                         English
                         Native or bilingual proficiency


                         Frenc h
                         Professional working profici ency


                                                                                Show a ll 4 languages ➔



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